         Case
          Case2:23-ap-01173-VZ
               2:23-ap-01173-VZ Doc
                                 Doc2-1
                                     3 Filed
                                         Filed06/16/23
                                               06/12/23 Entered
                                                          Entered06/16/23
                                                                   06/12/2320:20:01
                                                                            14:13:02 Desc
                                                                                      Desc
                                  Main
                                   AP-Summons
                                       Document PagePage1 1ofof4 5


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Steven Werth
Greenspoon Marder, LLP
1875 Century Park East
Ste 1900
Los Angeles, CA 90067
213−626−2311




Plaintiff or Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA − LOS ANGELES
In re:

                                                                              CASE NO.:    2:21−bk−16403−VZ

Spectrum Link, Inc.                                                           CHAPTER:     7


                                                                              ADVERSARY NUMBER: 2:23−ap−01173−VZ
                                                               Debtor(s).

Howard M Ehrenberg, Chapter 7 Trustee


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Millennium Marketing Concepts Inc., a California corporation,                        PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)


TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
07/12/2023. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                August 24, 2023
             Time:                10:30 AM
             Hearing Judge:       Vincent P. Zurzolo
             Location:            255 E Temple St., Crtrm 1368, Los Angeles, CA 90012



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                  Page 1                        F 7004−1.SUMMONS.ADV.PROC
      Case
       Case2:23-ap-01173-VZ
            2:23-ap-01173-VZ Doc
                              Doc2-1
                                  3 Filed
                                      Filed06/16/23
                                            06/12/23 Entered
                                                       Entered06/16/23
                                                                06/12/2320:20:01
                                                                         14:13:02 Desc
                                                                                   Desc
                               Main
                                AP-Summons
                                    Document PagePage2 2ofof4 5


You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: June 12, 2023




                                                                                        By:        "s/" Shemainee Carranza
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                Page 2                        F 7004−1.SUMMONS.ADV.PROC
      Case
       Case2:23-ap-01173-VZ
            2:23-ap-01173-VZ Doc
                              Doc2-1
                                  3 Filed
                                      Filed06/16/23
                                            06/12/23 Entered
                                                       Entered06/16/23
                                                                06/12/2320:20:01
                                                                         14:13:02 Desc
                                                                                   Desc
                               Main
                                AP-Summons
                                    Document PagePage3 3ofof4 5



                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Howard M Ehrenberg, Chapter 7 Trustee                                        Millennium Marketing Concepts Inc., a California corporation,
                                                                             United Care Residential, Inc., a California corporation
                                                                             Alex Mukathe, an individual,




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A
         Case
          Case2:23-ap-01173-VZ
               2:23-ap-01173-VZ Doc
                                 Doc2-1
                                     3 Filed
                                         Filed06/16/23
                                               06/12/23 Entered
                                                          Entered06/16/23
                                                                   06/12/2320:20:01
                                                                            14:13:02 Desc
                                                                                      Desc
                                  Main
                                   AP-Summons
                                       Document PagePage4 4ofof4 5



                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 1875 Century Park East, Ste. 1900, Los Angeles, CA 90067.



A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled: Complaint To Avoid And Recover Avoidable Transfers ,
Order Setting Procedures For Adversary Proceeding Status Conferences
__________________________________________________________________________________________________________
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date) _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:




                                                                               Service information continued on attached page
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________,
                                                             06/15/23                  I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.

                 See attached Service List



                                                                               Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.




                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

    6/16/23               Patricia Dillamar
   _____________________________________________________________                                      /s/ Patricia Dillamar
                                                                                                    _________________________________
   Date                    Printed Name                                                                Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                  F 7004−1.SUMMONS.ADV.PROC
Case 2:23-ap-01173-VZ         Doc 3 Filed 06/16/23 Entered 06/16/23 20:20:01   Desc
                               Main Document    Page 5 of 5



                                          Service List


Alex Mukathe, an individual
8221 3rd St., Suite 204,
Downey, CA 90241

United Care Residential, Inc., a California corporation
(Suspended Corporation 5/29/2019)
Agent for Service of Process: Alex Mukathe,
8221 3rd Street, Suite 204,
Downey, CA 90241

Millennium Marketing Concepts Inc., a California corporation
(Suspended Corporation - Inactive: 4/26/18)
Agent for Service of Process: Alex Mukathe,
8221 3rd St., Ste. 204,
Downey, CA 90241
